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              EXHIBIT 72                                  


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                                                     U.S. District Court
                                             Middle District of Florida (Ft. Myers)
                                CRIMINAL DOCKET FOR CASE #: 2:21-cr-00075-SPC-NPM All Defendants


 Case title: USA v. Batista Montijo                                                            Date Filed: 08/25/2021

                                                                                               Date Terminated: 10/27/2022


 Assigned to: Judge Sheri Polster Chappell
 Referred to: Magistrate Judge Nicholas P. Mizell
 Appeals court case number: 22-13666-A USCA

 Defendant (1)
 Heriberto Batista Montijo                                                       represented by George Ellis Summers , Jr.
 TERMINATED: 10/27/2022                                                                         Federal Public Defender's Office
                                                                                                2075 West First Street
                                                                                                Suite 300
                                                                                                Ft Myers, FL 33901
                                                                                                239/334-0397
                                                                                                Fax: 239/344-4109
                                                                                                Email: ellis_summers@fd.org
                                                                                                LEAD ATTORNEY
                                                                                                ATTORNEY TO BE NOTICED
                                                                                                Designation: Public Defender or Community Defender
                                                                                                Appointment

                                                                                               Melissa Fussell
                                                                                               Federal Defender's Office
                                                                                               201 S. Orange Avenue., Suite 300
                                                                                               Orlando, FL 32801
                                                                                               407-648-6338
                                                                                               Email: melissa_fussell@fd.org
                                                                                               ATTORNEY TO BE NOTICED
                                                                                               Designation: Public Defender or Community Defender
                                                                                               Appointment

 Pending Counts                                                                                Disposition
                                                                                               600-MONTHS This term consists of a 360-months as to each
                                                                                               of Counts 1 and 2, such terms shall run concurrently, and a
                                                                                               term of 240-months as to Count 3, the term imposed in Count 3
                                                                                               shall run consecutively to Counts 1 & 2. The terms of
                                                                                               imprisonment imposed by this judgment shall run concurrently
                                                                                               with the defendant's anticipated term of imprisonment imposed
 SEXUAL EXPLOITATION OF CHILDREN
                                                                                               pursuant to the judgment in Docket Number 21-CF-15332, Lee
 (1)
                                                                                               County Circuit Court, Fort Myers, Florida; Supervised
                                                                                               Release: LIFETIME. This term consists of a Lifetime term as
                                                                                               to each of Counts 1, 2, and 3, all such terms to run
                                                                                               concurrently; Sex Offender Conditions; Special Assessments:
                                                                                               $300; Restitution Hearing set for 1/18/2023 @ 1:30pm;
                                                                                               remand to the custody of United States Marshal
                                                                                               600-MONTHS This term consists of a 360-months as to each
                                                                                               of Counts 1 and 2, such terms shall run concurrently, and a
                                                                                               term of 240-months as to Count 3, the term imposed in Count 3
                                                                                               shall run consecutively to Counts 1 & 2. The terms of
                                                                                               imprisonment imposed by this judgment shall run concurrently
                                                                                               with the defendant's anticipated term of imprisonment imposed
 SEXUAL EXPLOITATION OF CHILDREN
                                                                                               pursuant to the judgment in Docket Number 21-CF-15332, Lee
 (2)
                                                                                               County Circuit Court, Fort Myers, Florida; Supervised
                                                                                               Release: LIFETIME. This term consists of a Lifetime term as
                                                                                               to each of Counts 1, 2, and 3, all such terms to run
                                                                                               concurrently; Sex Offender Conditions; Special Assessments:
                                                                                               $300; Restitution Hearing set for 1/18/2023 @ 1:30pm;
                                                                                               remand to the custody of United States Marshal
 ACTIVITIES RE MATERIAL                                                                        600-MONTHS This term consists of a 360-months as to each
 CONSTITUTING/CONTAINING CHILD PORNO                                                           of Counts 1 and 2, such terms shall run concurrently, and a
 (3)                                                                                           term of 240-months as to Count 3, the term imposed in Count 3

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                                                                                                  shall run consecutively to Counts 1 & 2. The terms of
                                                                                                  imprisonment imposed by this judgment shall run concurrently
                                                                                                  with the defendant's anticipated term of imprisonment imposed
                                                                                                  pursuant to the judgment in Docket Number 21-CF-15332, Lee
                                                                                                  County Circuit Court, Fort Myers, Florida; Supervised
                                                                                                  Release: LIFETIME. This term consists of a Lifetime term as
                                                                                                  to each of Counts 1, 2, and 3, all such terms to run
                                                                                                  concurrently; Sex Offender Conditions; Special Assessments:
                                                                                                  $300; Restitution Hearing set for 1/18/2023 @ 1:30pm;
                                                                                                  remand to the custody of United States Marshal

 Highest Offense Level (Opening)
 Felony

 Terminated Counts                                                                                Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                                       Disposition
 None



 Plaintiff
 USA                                                                              represented by James A. Muench
                                                                                                 US Attorney's Office - FLM
                                                                                                 Suite 3200
                                                                                                 400 N Tampa St
                                                                                                 Tampa, FL 33602-4798
                                                                                                 813/274-6000
                                                                                                 Email: james.muench2@usdoj.gov
                                                                                                 ATTORNEY TO BE NOTICED
                                                                                                 Designation: Retained

                                                                                                  Yolande G. Viacava
                                                                                                  US Attorney's Office - FLM
                                                                                                  Room 3-137
                                                                                                  2110 First Street
                                                                                                  Ft Myers, FL 33901
                                                                                                  239/461-2200
                                                                                                  Email: Yolande.Viacava@usdoj.gov
                                                                                                  ATTORNEY TO BE NOTICED
                                                                                                  Designation: Retained

  Date Filed        #   Docket Text
  08/25/2021         1 INDICTMENT returned in open court as to Heriberto Batista Montijo (1) count(s) 1-2, 3. (JK) (Entered: 08/26/2021)
  08/26/2021         4 ORDER as to Heriberto Batista Montijo: Pursuant to the Due Process Protections Act, the Court confirms the United States'
                       obligation to produce all exculpatory evidence to the defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963), and its
                       progeny and orders the United States to do so. Failing to do so in a timely manner may result in consequences, including
                       exclusion of evidence, adverse jury instructions, dismissal of charges, contempt proceedings, and sanctions. Signed by Judge
                       Timothy J. Corrigan on 12/01/2020. (JK) (Entered: 08/26/2021)
  08/26/2021         5 MOTION for Writ of Habeas Corpus ad prosequendum by USA as to Heriberto Batista Montijo. (Attachments: # 1 Text of Proposed
                       Order)(Viacava, Yolande) Motions referred to Magistrate Judge Nicholas P. Mizell. (Entered: 08/26/2021)
  08/27/2021         6 ORDER granting 5 Motion for Writ of Habeas Corpus ad prosequendum WRIT ISSUED as to Heriberto Batista Montijo (1).
                       Signed by Magistrate Judge Nicholas P. Mizell on 8/27/2021. (WRW) (Entered: 08/27/2021)
  08/31/2021         7 NOTICE OF ATTORNEY APPEARANCE James A. Muench appearing for USA. (Muench, James) (Entered: 08/31/2021)
  09/08/2021         8 NOTICE OF HEARING as to Heriberto Batista Montijo: Initial Appearance set for 9/8/2021 at 03:00 PM before Magistrate Judge Mac
                       R. McCoy. The Courtroom Deputy will transmit instructions for joining the video conference by separate email to the required
                       participants. NOTE THE FOLLOWING SPECIAL PROCEDURES: (1) Only Defendant, Defendant's counsel, and the interpreter may
                       join the video conference beginning at 3:00 PM to permit Defendant and counsel to confer before the formal hearing begins, and the
                       Court allocates the first 30 minutes of the video conference for that purpose; and (2) all other hearing participants must join the video
                       conference promptly at but no sooner than 3:30 PM, at which time the formal hearing will commence.(WRW) (Entered: 09/08/2021)
  09/08/2021        10 ORAL MOTION to Appoint Interpreter, ORAL MOTION to Appoint Counsel by Heriberto Batista Montijo. (WRW) Motions referred
                       to Magistrate Judge Nicholas P. Mizell. (Entered: 09/08/2021)
  09/08/2021        11 ORAL MOTION for Discovery by Heriberto Batista Montijo. (WRW) Motions referred to Magistrate Judge Nicholas P. Mizell.

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                        (Entered: 09/08/2021)
  09/08/2021        12 ORAL MOTION for Reciprocal Discovery by USA as to Heriberto Batista Montijo. (WRW) Motions referred to Magistrate Judge
                       Nicholas P. Mizell. (Entered: 09/08/2021)
  09/08/2021        13 ORAL MOTION for entry of Scheduling Order setting this matter for trial by Heriberto Batista Montijo. (WRW) (Entered: 09/08/2021)
  09/08/2021        14 ORAL ORDER as to Heriberto Batista Montijo: DUE PROCESS PROTECTION ACT ORAL ORDER. As required by Rule
                       5(f), the United States is ordered to produce all exculpatory evidence to the defendant pursuant to Brady v. Maryland and its
                       progeny. Failing to do so in a timely manner may result in sanctions, including exclusion of evidence, adverse jury instruction,
                       dismissal of charges and contempt proceedings. Signed by Magistrate Judge Mac R. McCoy on 9/8/2021. (WRW) (Entered:
                       09/08/2021)
  09/08/2021        15 ORAL MOTION for Detention by USA as to Heriberto Batista Montijo. (WRW) Motions referred to Magistrate Judge Nicholas P.
                       Mizell. (Entered: 09/08/2021)
  09/08/2021        16 Minute Entry for Virtual proceedings held before Magistrate Judge Mac R. McCoy: granting 10 ORAL Motion to Appoint Interpreter as
                       to Heriberto Batista Montijo (1); granting 10 ORAL Motion to Appoint Counsel as to Heriberto Batista Montijo (1); granting 11 ORAL
                       Motion for Discovery as to Heriberto Batista Montijo (1); granting 12 ORAL Motion for Reciprocal Discovery as to Heriberto Batista
                       Montijo (1); granting 13 ORAL Motion for entry of Scheduling Order setting this matter for trial as to Heriberto Batista Montijo (1);
                       granting 15 ORAL Motion for Detention as to Heriberto Batista Montijo (1); ARRAIGNMENT as to Heriberto Batista Montijo (1)
                       Count 1-2, 3 held on 9/8/2021 Defendant(s) pled not guilty; Initial Appearance as to Heriberto Batista Montijo held on 9/8/2021;
                       Detention Hearing as to Heriberto Batista Montijo held on 9/8/2021. (digital) (Interpreter/Language: Leon Fontova/Spanish) (WRW)
                       (Entered: 09/08/2021)
  09/08/2021        17 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Heriberto Batista Montijo Signed by Magistrate Judge Mac R.
                       McCoy on 9/8/2021. (WRW) (Entered: 09/08/2021)
  09/08/2021        19 SCHEDULING ORDER as to Heriberto Batista Montijo Status Conference set for 9/13/2021 at 09:30 AM before Judge Sheri
                       Polster Chappell, Jury Trial set for 10/4/2021 at 09:00 AM before Judge Sheri Polster Chappell Signed by Magistrate Judge Mac
                       R. McCoy on 9/8/2021. (WRW) (Entered: 09/08/2021)
  09/08/2021        20 ORDER OF DETENTION PENDING TRIAL as to Heriberto Batista Montijo Signed by Magistrate Judge Mac R. McCoy on
                       9/8/2021. (WRW) (Entered: 09/08/2021)
  09/09/2021        21 NOTICE OF ATTORNEY APPEARANCE: George Ellis Summers, Jr appearing for Heriberto Batista Montijo (Summers, George)
                       (Entered: 09/09/2021)
  09/09/2021        22 ARREST Warrant Returned Executed on 09/08/2021 as to Heriberto Batista Montijo. (JK) (Entered: 09/09/2021)
  09/12/2021        23 NOTICE TO ALL PARTIES REGARDING CRIMINAL STATUS CONFERENCE SET MONDAY, September 13th, 2021, AT
                       9:30AM: This hearing will be conducted via teleconference. All participants are instructed to follow the call-in instructions below to join
                       the teleconference. Once you are on the line please mute your phones until your case is called. When your case is complete you may
                       hang-up. DIAL IN INSTRUCTIONS: TOLL FREE NUMBER: 1-888-684-8852, ACCESS CODE: 9040683. Dial in at least 5 minutes
                       before hearing time. Landline preferred. Do not use the speaker phone feature during the call. (AEH) (Entered: 09/12/2021)
  09/13/2021        24 Minute Entry for Telephonic proceedings held before Magistrate Judge Nicholas P. Mizell: STATUS Conference as to Heriberto Batista
                       Montijo held on 9/13/2021. Court Reporter: Stacey Raikes (AEH) (Entered: 09/13/2021)
  09/13/2021        25 ORAL MOTION to Continue trial by Heriberto Batista Montijo. (AEH) (Entered: 09/13/2021)
  09/13/2021        26 ORAL ORDER granting (D.E. 25) ORAL Motion to Continue as to Heriberto Batista Montijo. The Court finds that the ends of
                       justice served by granting such a continuance outweigh the best interest of the public and the defendant's in a speedy trial. The
                       Court, therefore, determines that the time from today until the end of the December 2021 trial term shall be "excludable time"
                       pursuant to 18 U.S.C. § 3161(h). Jury Trial is set for the trial term commencing December 1, 2021 in Ft. Myers Courtroom 5D
                       before Judge Sheri Polster Chappell and a Criminal Status Conference is scheduled for November 8th, 2021 at 9:30am before
                       Judge Sheri Polster Chappell and will be conducted via teleconference. Participants are instructed to mute phone upon joining
                       the teleconference and remain muted until your case is called. When your case is complete you may hang-up. DIAL IN
                       INSTRUCTIONS: TOLL FREE NUMBER: 1-888-684-8852, ACCESS CODE: 9040683. Dial in at least 5 minutes before hearing
                       time. Landline preferred. Do not use the speaker phone feature during the call. Signed by Magistrate Judge Nicholas P. Mizell
                       on 9/13/2021. (AEH) (Entered: 09/13/2021)
  09/22/2021        27 NOTICE of Discovery Response by USA as to Heriberto Batista Montijo (Attachments: # 1 Exhibit)(Viacava, Yolande) (Entered:
                       09/22/2021)
  10/14/2021        28 MOTION to Suppress and Memorandum of Law in Support Thereof by Heriberto Batista Montijo. (Summers, George) (Entered:
                       10/14/2021)
  10/15/2021        29 EVIDENTIARY HEARING SCHEDULING ORDER as to Heriberto Batista Montijo: an Evidentiary Hearing on the
                       Defendant Heriberto Batista Montijo's Motion to Suppress is set for 11/2/2021 at 9:30 AM in Ft. Myers Courtroom 5D before
                       Judge Sheri Polster Chappell. See order for additional court directives and deadlines. Signed by Judge Sheri Polster Chappell
                       on 10/15/2021. (AEH) (Entered: 10/15/2021)
  10/15/2021        30 NOTICE OF EVIDENTIARY HEARING on Defendant Heriberto Batista Montijo's Motion to Suppress: an Evidentiary Hearing is set
                       for 11/2/2021 at 9:30 AM in Ft. Myers Courtroom 5D before Judge Sheri Polster Chappell. See scheduling order (Doc. 29).(AEH)
                       (Entered: 10/15/2021)
  10/27/2021        31 First MOTION to Extend Time to Respond to Defendant's Motion to Suppress by USA as to Heriberto Batista Montijo. (Viacava,
                       Yolande) Motions referred to Magistrate Judge Nicholas P. Mizell. (Entered: 10/27/2021)
  10/27/2021        32 ENDORSED ORDER granting the Government's Unopposed Motion to Extend Time to Respond to Defendant's Motion to
                       Suppress (Doc. 31). The time for the Government to respond to Defendant Heriberto Batista Montijo's Motion to Suppress (Doc.
                       28) is extended to November 5, 2021. The Clerk SHALL reschedule the November 2, 2021 suppression hearing to a date after
                       November 5, 2021. Signed by Judge Sheri Polster Chappell on 10/27/2021. (AEH) (Entered: 10/27/2021)

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  10/28/2021        33 NOTICE OF RESCHEDULING EVIDENTIARY HEARING on Defendant Heriberto Batista Montijo's Motion to Suppress: The
                       Evidentiary hearing previously scheduled for 11/2/2021 is rescheduled. The new hearing date and time are as follows: Evidentiary
                       Hearing is now set for 11/16/2021 at 9:30AM in Ft. Myers Courtroom 5D before Judge Sheri Polster Chappell. (AEH) (Entered:
                       10/28/2021)
  10/28/2021        34 AMENDED EVIDENTIARY HEARING SCHEDULING ORDER as to Heriberto Batista Montijo: an Evidentiary Hearing on
                       the Defendant Heriberto Batista Montijo's Motion to Suppress is set for 11/16/2021 at 9:30 AM in Ft. Myers Courtroom 5D
                       before Judge Sheri Polster Chappell. See order for additional court directives and deadlines. Signed by Judge Sheri Polster
                       Chappell on 10/28/2021. (AEH) (Entered: 10/28/2021)
  11/05/2021        35 Unopposed MOTION for Leave to File Document in Excess of Twenty Pages by USA as to Heriberto Batista Montijo. (Viacava,
                       Yolande) Motions referred to Magistrate Judge Nicholas P. Mizell. (Entered: 11/05/2021)
  11/05/2021        36 ORDERED: The Government's Unopposed Motion for Leave to File a Response and Memorandum in Excess of Twenty Pages
                       (Doc. 35) is DENIED without prejudice. Signed by Judge Sheri Polster Chappell on 11/5/2021. (AEH) (Entered: 11/05/2021)
  11/05/2021        37 RESPONSE in Opposition by USA as to Heriberto Batista Montijo re 28 MOTION to Suppress and Memorandum of Law in Support
                       Thereof (Attachments: # 1 Exhibit A - Facebook Declaration, # 2 Exhibit B - NCMEC, # 3 Exhibit C - Affidavit)(Viacava, Yolande)
                       (Entered: 11/05/2021)
  11/08/2021        38 MOTION for Leave to File Document Under Seal Application for Issuance of a Subpoena Duces Tecum Pursuant to Rule 17(a) and (b)
                       by Heriberto Batista Montijo. (Summers, George) Motions referred to Magistrate Judge Nicholas P. Mizell. (Entered: 11/08/2021)
  11/08/2021        39 ENDORSED ORDER directing Defendant to file a reply to the Government's Response in Opposition to Defendant's Motion for
                       Pre-Trial Suppression Hearing (Doc. 37), not to exceed ten pages in length, on or before noon on November 15, 2021. Signed by
                       Judge Sheri Polster Chappell on 11/8/2021. (CMC) (Entered: 11/08/2021)
  11/08/2021        40 ENDORSED ORDER granting 38 Motion for Leave to File Under Seal Application for Issuance of Subpoenas. To avoid any
                       disclosure of defense counsel's potential strategy considerations, Defendant Montijo may file the application in an envelope
                       bearing the caption of this case and a statement that the contents are to be filed under seal pursuant to this order. The
                       application will be sealed until 90 days after the case is closed and all appeals exhausted. Signed by Magistrate Judge Nicholas P.
                       Mizell on 11/8/2021. (Mizell, Nicholas) (Entered: 11/08/2021)
  11/08/2021        49 Minute Entry for Telephonic proceedings held before Judge Sheri Polster Chappell: STATUS Conference as to Heriberto Batista
                       Montijo held on 11/8/2021. Court Reporter: Jeffrey G. Thomas (JGG) (Entered: 11/15/2021)
  11/08/2021        50 ORAL MOTION to Continue trial by Heriberto Batista Montijo. (JGG) (Entered: 11/15/2021)
  11/08/2021        51 ENDORSED ORDER granting 50 Motion to Continue as to Heriberto Batista Montijo (1). The Court finds that the ends of
                       justice served by granting such a continuance outweigh the best interest of the public and the defendant in a speedy trial. The
                       Court, therefore, determines that the time from today until the end of the January 2022 trial term shall be "excludable time"
                       pursuant to 18 U.S.C. § 3161(h). Jury Trial is set for the trial term commencing January 3, 2022 in Ft. Myers Courtroom 5D
                       before Judge Sheri Polster Chappell and a Criminal Status Conference is scheduled for December 13, 2021 at 9:30am before
                       Judge Sheri Polster Chappell and will be conducted via teleconference. Participants are instructed to mute phone(s) upon
                       joining the teleconference and remain muted until your case is called. When your case is complete you may hang-up. Dial in at
                       least 5 minutes before hearing time. Landline preferred. Do not use the speaker phone feature during the call. DIAL-IN
                       INSTRUCTIONS: TOLL FREE NUMBER: 1-888-684-8852, ACCESS CODE: 9040683. Signed by Judge Sheri Polster Chappell
                       on 11/15/2021. (JGG) (Entered: 11/15/2021)
  11/10/2021        41 NOTICE OF RESCHEDULING EVIDENTIARY HEARING on Defendant Heriberto Batista Montijo's Motion to Suppress: The
                       Evidentiary hearing previously scheduled for 11/16/2021 is rescheduled. The new hearing date and time are as follows: Evidentiary
                       Hearing is now set for 12/7/2021 at 9:30AM in Ft. Myers Courtroom 5D before Judge Sheri Polster Chappell. (AEH) (Entered:
                       11/10/2021)
  11/10/2021        42 NOTICE OF RESCHEDULING EVIDENTIARY HEARING (AS TO TIME ONLY): The Evidentiary hearing as to Heriberto Batista
                       Montijo previously scheduled to begin at 9:30AM on 12/7/2021 is rescheduled. The Evidentiary Hearing is now set to begin at 9:00AM
                       on 12/7/2021 in Ft. Myers Courtroom 5D before Judge Sheri Polster Chappell. (AEH) (Entered: 11/10/2021)
  11/10/2021        43 SECOND AMENDED EVIDENTIARY HEARING SCHEDULING ORDER as to Heriberto Batista Montijo: Evidentiary
                       Hearing set for 12/7/2021 at 9:30AM in Ft. Myers Courtroom 5D before Judge Sheri Polster Chappell. See order for additional
                       court directives and deadlines. Signed by Judge Sheri Polster Chappell on 11/10/2021. (AEH) EVIDENTIARY HEARING WILL
                       START AT 9:00AM, AS PER DOCKET ENTRY 42. Modified on 11/22/2021 to add note re: hearing start time (AEH). (Entered:
                       11/10/2021)
  11/15/2021        48 REPLY TO RESPONSE to Motion by Heriberto Batista Montijo re 28 MOTION to Suppress and Memorandum of Law in Support
                       Thereof (Attachments: # 1 Exhibit A)(Summers, George) Modified as to duplicate docket text on 11/15/2021 (JK). (Entered:
                       11/15/2021)
  12/03/2021        52 NOTICE OF RESCHEDULING EVIDENTIARY HEARING on Defendant Heriberto Batista Montijo's Motion to Suppress (AS TO
                       COURTROOM ONLY). The evidentiary hearing on Defendant Heriberto Batista Montijo's Motion to Suppress set for 12/7/2021 at
                       9:00AM before Judge Sheri Polster Chappell will now be conducted in Ft. Myers Courtroom 6A. (AEH) (Entered: 12/03/2021)
  12/06/2021        53 WITNESS LIST by USA as to Heriberto Batista Montijo (Viacava, Yolande) (Entered: 12/06/2021)
  12/06/2021        54 EXHIBIT LIST by USA as to Heriberto Batista Montijo (Viacava, Yolande) (Entered: 12/06/2021)
  12/06/2021        55 Unopposed MOTION for Protective Order by USA as to Heriberto Batista Montijo. (Attachments: # 1 Text of Proposed Order)(Viacava,
                       Yolande) Motions referred to Magistrate Judge Nicholas P. Mizell. (Entered: 12/06/2021)
  12/07/2021        56 EXHIBIT LIST by Heriberto Batista Montijo (Summers, George) (Entered: 12/07/2021)
  12/07/2021        57 WITNESS LIST by Heriberto Batista Montijo (Summers, George) (Entered: 12/07/2021)
  12/07/2021        58 EXHIBIT LIST by USA as to Heriberto Batista Montijo (Viacava, Yolande) (Entered: 12/07/2021)

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  12/07/2021        59 Minute Entry for In Person proceedings held before Judge Sheri Polster Chappell: EVIDENTIARY Hearing as to Heriberto Batista
                       Montijo held on 12/7/2021. Court Reporter: Stacey Raikes (Interpreter/Language: Leon Fontova & Gabriella Loncar - Spanish) (AEH)
                       (Additional attachment(s) added on 2/9/2022: # 1 Exhibit Exhibit List, # 2 Exhibit Gov't 1, # 3 Exhibit Gov't 2, # 4 Exhibit Gov't 4a, # 5
                       Exhibit Gov't 4b, # 6 Exhibit Gov't 5a, # 7 Exhibit Gov't 5b, # 8 Exhibit Gov't 6) (AEH). (Entered: 12/07/2021)
  12/07/2021        60 ORAL MOTION to Continue trial term to February 2022 by Heriberto Batista Montijo. (AEH) (Entered: 12/07/2021)
  12/07/2021        61 ORAL ORDER granting D.E. 60 Defendant Heriberto Batista Montijo's Oral Motion to Continue Trial Term. The Court,
                       therefore, determines that the time from today until the end of the February 2022 trial term shall be "excludable time" pursuant
                       to 18 U.S.C. § 3161(h). Jury Trial is set for the trial term commencing February 1, 2022 in Ft. Myers Courtroom 5D before
                       Judge Sheri Polster Chappell and a Criminal Status Conference is scheduled for January 10, 2021 at 9:30am before Judge Sheri
                       Polster Chappell and will be conducted via teleconference. Participants are instructed to mute phone upon joining the
                       teleconference and remain muted until your case is called. When your case is complete you may hang-up. Dial in at least 5
                       minutes before hearing time. Landline preferred. Do not use the speaker phone feature during the call. DIAL-IN
                       INSTRUCTIONS: TOLL FREE NUMBER: 1-888-684-8852, ACCESS CODE: 9040683. Signed by Judge Sheri Polster Chappell
                       on 12/7/2021. (AEH) (Entered: 12/07/2021)
  12/16/2021        62 ORDER granting 55 Unopposed Motion for Protective Order. See Protective Order for details. Signed by Magistrate Judge
                       Nicholas P. Mizell on 12/16/2021. (SM) (Entered: 12/16/2021)
  01/07/2022        63 NOTICE TO ALL PARTIES REGARDING JANUARY 10TH, 2022 CRIMINAL STATUS CONFERENCE HEARING: The Status
                       Conference set for 1/10/2022 at 9:30 AM before Judge Sheri Polster Chappell will be conducted via teleconference; the defendant's
                       presence IS NOT REQUIRED. Participants are instructed to follow the call-in instructions to join the teleconference and follow the
                       prompts. DIAL IN INSTRUCTIONS: TELEPHONE NUMBER: 1-689-223-3510, CONFERENCE ID: 247 961 345#. Dial in at least 5
                       minutes before hearing time. Landline preferred. Do not use the speaker phone feature during the call. (AEH) (Entered: 01/07/2022)
  01/10/2022        64 Minute Entry for Telephonic proceedings held before Judge Sheri Polster Chappell: STATUS Conference as to Heriberto Batista
                       Montijo held on 1/10/2022. Court Reporter: Stacey Raikes (AEH) (Entered: 01/10/2022)
  01/10/2022        65 ORAL MOTION to Continue trial by Heriberto Batista Montijo. (AEH) (Entered: 01/10/2022)
  01/10/2022        66 ORAL ORDER granting D.E. 65 Defendant Heriberto Batista Montijo's Oral Motion to Continue Trial Term. The Court,
                       therefore, determines that the time from today until the end of the March 2022 trial term shall be "excludable time" pursuant to
                       18 U.S.C. § 3161(h). Jury Trial is set for the trial term commencing March 1, 2022 in Ft. Myers Courtroom 5D before Judge
                       Sheri Polster Chappell and a Criminal Status Conference is scheduled for February 14, 2022 at 9:30am before Judge Sheri
                       Polster Chappell and will be conducted via teleconference. Participants shall receive call-in instructions for joining hearing by
                       separate notice. Signed by Judge Sheri Polster Chappell on 1/10/2022. (AEH) Modified on 1/11/2022 (AEH). (Entered: 01/10/2022)
  01/10/2022        67 ORDERED: Defendant Heriberto Batista Montijo's Motion for Pre-Trial Suppression Hearing (Doc. 28) is DENIED. Signed by
                       Judge Sheri Polster Chappell on 1/10/2022. (AEH) (Entered: 01/10/2022)
  02/13/2022        73 NOTICE TO ALL PARTIES REGARDING FEBRUARY 14TH, 2022 CRIMINAL STATUS CONFERENCE HEARING: The Status
                       Conference set for 2/14/2022 at 9:30 AM before Judge Sheri Polster Chappell will be conducted via teleconference; the defendant's
                       presence IS NOT REQUIRED. Participants are instructed to follow the call-in instructions to join the teleconference and follow the
                       prompts. DIAL IN INSTRUCTIONS: TELEPHONE NUMBER: 1-689-223-3510, CONFERENCE ID: 739 769 413#. Dial in at least 5
                       minutes before hearing time. Landline preferred. Do not use the speaker phone feature during the call.(AEH)(AEH) (Entered:
                       02/13/2022)
  02/14/2022        74 Minute Entry for Telephonic proceedings held before Judge Sheri Polster Chappell: STATUS Conference as to Heriberto Batista
                       Montijo held on 2/14/2022. Court Reporter: Stacey Raikes (AEH) (Entered: 02/14/2022)
  02/14/2022        75 ORAL MOTION to Continue trial by Heriberto Batista Montijo. (AEH) (Entered: 02/14/2022)
  02/14/2022        76 ORAL ORDER granting D.E. 75 Defendant Heriberto Batista Montijo's Oral Motion to Continue Trial Term. The Court finds
                       that the ends of justice served by granting such a continuance outweigh the best interest of the public and the defendant's in a
                       speedy trial. The Court, therefore, determines that the time from today until the end of the April 2022 trial term shall be
                       "excludable time" pursuant to 18 U.S.C. § 3161(h). Jury Trial is set for the trial term commencing April 4, 2022 in Ft. Myers
                       Courtroom 5D before Judge Sheri Polster Chappell and a Criminal Status Conference is scheduled for March 14, 2022 at
                       9:30am before Judge Sheri Polster Chappell and will be conducted via teleconference. Participants shall receive call-in
                       instructions for joining hearing by separate notice. Signed by Judge Sheri Polster Chappell on 2/14/2022. (AEH) (Entered:
                       02/14/2022)
  03/08/2022        80 TRANSCRIPT of Motion to Suppress Hearing as to Heriberto Batista Montijo held on December 7, 2021 before Judge Sheri Polster
                       Chappell. Court Reporter/Transcriber Stacey Raikes, Telephone number 239-461-2064. Transcript may be viewed at the court public
                       terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it
                       may be obtained through PACER or purchased through the Court Reporter. Redaction Request due 3/29/2022 Redacted Transcript
                       Deadline set for 4/8/2022 Release of Transcript Restriction set for 6/6/2022. (SER) (Entered: 03/08/2022)
  03/08/2022        81 NOTICE to counsel of filing of OFFICIAL TRANSCRIPT. The parties have seven (7) calendar days to file with the court a Notice of
                       Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript may be made remotely electronically available to
                       the public without redaction after 90 calendar days. Any party needing a copy of the transcript to review for redaction purposes may
                       purchase a copy from the court reporter or view the document at the clerk's office public terminal as to Heriberto Batista Montijo. Court
                       Reporter: Stacey Raikes (SER) (Entered: 03/08/2022)
  03/14/2022        85 Minute Entry for Telephonic proceedings held before Judge Sheri Polster Chappell: STATUS Conference as to Heriberto Batista
                       Montijo held on 3/14/2022. Court Reporter: Stacey Raikes (AEH) (Entered: 03/15/2022)
  03/14/2022        86 ORAL MOTION to Continue trial by Heriberto Batista Montijo. (AEH) (Entered: 03/15/2022)
  03/14/2022        87 ORAL ORDER granting 86 ORAL Motion to Continue Trial Term as to Heriberto Batista Montijo. The Court finds that the
                       ends of justice served by granting such a continuance outweigh the best interest of the public and the defendant's in a speedy
                       trial. The Court, therefore, determines that the time from today until the end of the May 2022 trial term shall be "excludable
                       time" pursuant to 18 U.S.C. § 3161(h). Jury Trial is set for the trial term commencing May 2, 2022 in Ft. Myers Courtroom 5D
https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?976743063282481-L_1_0-1                                                                                              5/9
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                         before Judge Sheri Polster Chappell and a Criminal Status Conference is scheduled for April 11th, 2022 at 9:30am before Judge
                         Sheri Polster Chappell and will be conducted via teleconference. Participants shall receive call-in instructions for joining hearing
                         by separate notice. Signed by Judge Sheri Polster Chappell on 3/14/2022. (AEH) (Entered: 03/15/2022)
  04/08/2022        91 NOTICE TO ALL PARTIES REGARDING APRIL 11TH, 2022 CRIMINAL STATUS CONFERENCE HEARING: The Status
                       Conferences set for 4/11/2022 at 9:30 AM before Judge Sheri Polster Chappell will be conducted via teleconference; the defendant's
                       presence IS NOT REQUIRED. Participants are instructed to follow the call-in instructions to join the teleconference and follow the
                       prompts. DIAL IN INSTRUCTIONS: TELEPHONE NUMBER: 1-239-673-2222, CONFERENCE I.D.: 739 769 413#. Dial in at least 5
                       minutes before hearing time. Landline preferred - DO NOT USE SPEAKERPHONE FEATURE DURING THE CALL. (AEH)
                       (Entered: 04/08/2022)
  04/11/2022        92 Minute Entry for Telephonic proceedings held before Judge Sheri Polster Chappell: STATUS Conference as to Heriberto Batista
                       Montijo held on 4/11/2022. Court Reporter: Jeffrey G. Thomas (AEH) (Entered: 04/12/2022)
  04/11/2022        93 ORAL MOTION to Continue trial by Heriberto Batista Montijo. (AEH) (Entered: 04/12/2022)
  04/11/2022        94 ORAL ORDER granting D.E. 93 ORAL Motion to Continue Trial Term as to Heriberto Batista Montijo. The Court finds that
                       the ends of justice served by granting such a continuance outweigh the best interest of the public and the defendant's in a speedy
                       trial. The Court, therefore, determines that the time from today until the end of the June 2022 trial term shall be "excludable
                       time" pursuant to 18 U.S.C. § 3161(h). Jury Trial is set for the trial term commencing June 1, 2022 in Ft. Myers Courtroom 5D
                       before Judge Sheri Polster Chappell and a Criminal Status Conference is scheduled for May 9th, 2022 at 9:30am before Judge
                       Sheri Polster Chappell and will be conducted via teleconference. Participants shall receive call-in instructions for joining hearing
                       by separate notice. Signed by Judge Sheri Polster Chappell on 4/11/2022. (AEH) (Entered: 04/12/2022)
  05/08/2022        98 NOTICE TO ALL PARTIES REGARDING MAY 9TH, 2022 CRIMINAL STATUS CONFERENCE HEARING: The Status
                       Conferences set for 5/9/2022 at 9:30 AM before Judge Sheri Polster Chappell will be conducted via teleconference; the defendant's
                       presence IS NOT REQUIRED. Participants are instructed to follow the call-in instructions to join the teleconference and follow the
                       prompts. DIAL IN INSTRUCTIONS: TELEPHONE NUMBER: 1-239-673-2222, CONFERENCE I.D.: 739 769 413#. Dial in at least 5
                       minutes before hearing time. Landline preferred - DO NOT USE SPEAKERPHONE FEATURE DURING THE CALL.(AEH) (Entered:
                       05/08/2022)
  05/09/2022        99 Minute Entry for Telephonic proceedings held before Judge Sheri Polster Chappell: STATUS Conference as to Heriberto Batista
                       Montijo held on 5/9/2022. Court Reporter: Stacey Raikes (AEH) (Entered: 05/10/2022)
  05/09/2022     100 ORAL MOTION to Continue trial by Heriberto Batista Montijo. (AEH) (Entered: 05/10/2022)
  05/09/2022     101 ORAL ORDER granting D.E. 100 ORAL Motion to Continue Trial Term as to Heriberto Batista Montijo. The Court finds that
                     the ends of justice served by granting such a continuance outweigh the best interest of the public and the defendant's in a speedy
                     trial. The Court, therefore, determines that the time from today until the end of the July 2022 trial term shall be "excludable
                     time" pursuant to 18 U.S.C. § 3161(h). Jury Trial is set for the trial term commencing July 5, 2022 in Ft. Myers Courtroom 5D
                     before Judge Sheri Polster Chappell and a Criminal Status Conference is scheduled for June 6th, 2022 at 9:30am before Judge
                     Sheri Polster Chappell and will be conducted via teleconference. Participants shall receive call-in instructions for joining hearing
                     by separate notice. Signed by Judge Sheri Polster Chappell on 5/9/2022. (AEH) (Entered: 05/10/2022)
  06/07/2022     102 NOTICE OF HEARING as to Heriberto Batista Montijo: Change of Plea Hearing set for 6/27/2022 at 11:00 AM in Ft. Myers
                     Courtroom 4 E before Magistrate Judge Nicholas P. Mizell. (WRW) (Entered: 06/07/2022)
  06/07/2022     103 Minute Entry for Telephonic proceedings held before Judge Sheri Polster Chappell: STATUS Conference as to Heriberto Batista
                     Montijo held on 6/7/2022. PLEA DEADLINE EXTENDED TO JULY 15, 2022. Court Reporter: Stacey Raikes (AEH) (Entered:
                     06/08/2022)
  06/14/2022     104 CONSENT regarding entry of a plea of guilty and waiver of objection to report and recommendation as to Heriberto Batista Montijo
                     (Summers, George) (Entered: 06/14/2022)
  06/15/2022     105 WAIVER of Objection to Report and Recommendation by USA as to Heriberto Batista Montijo. (Viacava, Yolande) (Entered:
                     06/15/2022)
  06/24/2022     106 NOTICE of maximum penalty, elements of offense, personalization of elements and factual basis by USA as to Heriberto Batista
                     Montijo (Viacava, Yolande) (Entered: 06/24/2022)
  06/27/2022     107 Minute Entry for In Person proceedings held before Magistrate Judge Nicholas P. Mizell: Change of Plea Hearing as to Heriberto Batista
                     Montijo held on 6/27/2022. (DIGITAL) (Interpreter/Language: Leon Fontova/Spanish) (WRW) (Entered: 06/27/2022)
  06/27/2022     108 REPORT AND RECOMMENDATION Concerning Plea of Guilty re: count(s) One, Two and Three of the Indictment as to
                     Heriberto Batista Montijo. Signed by Magistrate Judge Nicholas P. Mizell on 6/27/2022. (WRW) (Entered: 06/27/2022)
  06/28/2022     110 ACCEPTANCE OF PLEA of guilty and adjudication of guilt re: counts One, Two and Three of the Indictment as to Heriberto Batista
                     Montijo. Signed by Judge Sheri Polster Chappell on 6/28/2022. (Sentencing is set for 10/3/2022 at 2:00PM in Ft. Myers Courtroom 5D
                     before Judge Sheri Polster Chappell.) (AEH) (Entered: 06/28/2022)
  06/28/2022        111 SENTENCING SCHEDULING ORDER as to Heriberto Batista Montijo: Sentencing is set for 10/3/2022 at 2:00PM in Ft. Myers
                        Courtroom 5D before Judge Sheri Polster Chappell. Signed by Judge Sheri Polster Chappell on 6/28/2022. (AEH) (Entered:
                        06/28/2022)
  06/30/2022     113 MOTION for Forfeiture of a Preliminary Order by USA as to Heriberto Batista Montijo. (Muench, James) (Entered: 06/30/2022)
  07/11/2022     114 ORDER granting (Doc. 113) Motion for Preliminary Order of Forfeiture of as to Heriberto Batista Montijo. Signed by Judge
                     Sheri Polster Chappell on 7/11/2022. (AEH) (Entered: 07/11/2022)
  08/08/2022     115 Unopposed MOTION for Miscellaneous Relief, specifically Requesting an order clarifying that defendant shall not be released prior to
                     sentencing by Heriberto Batista Montijo. (Summers, George) (Entered: 08/08/2022)
  08/12/2022     116 PROOF OF PUBLICATION as to Heriberto Batista Montijo newspaper: Official Government Internet Site (www.forfeiture.gov) dates
                     of publication: 30 consecutive days from July 13, 2022 through August 11, 2022. (Muench, James) (Entered: 08/12/2022)

https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?976743063282481-L_1_0-1                                                                                     6/9
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  08/16/2022     117 ORDER granting 115 Defendant's motion for clarification about his detention status. Montijo will remain in the custody of the
                     United States Marshal pending sentencing and remand to the Federal Bureau of Prisons. Signed by Magistrate Judge Nicholas
                     P. Mizell on 8/16/2022. (BB) (Entered: 08/16/2022)
  09/26/2022     121 NOTICE OF RESCHEDULING SENTENCING HEARING: The Sentencing hearing as to Heriberto Batista Montijo previously
                     scheduled for 10/3/2022 is rescheduled. The new hearing date and time are as follows: Sentencing is now set for 10/17/2022 at 1:30PM
                     in Ft. Myers Courtroom 5D before Judge Sheri Polster Chappell. (AEH) (Entered: 09/26/2022)
  10/07/2022     122 SENTENCING MEMORANDUM by Heriberto Batista Montijo (Summers, George) (Entered: 10/07/2022)
  10/07/2022     123 MOTION for Forfeiture of a Final Order by USA as to Heriberto Batista Montijo. (Muench, James) (Entered: 10/07/2022)
  10/11/2022     124 NOTICE OF RESCHEDULING SENTENCING HEARING: The Sentencing hearing as to Heriberto Batista Montijo previously
                     scheduled for 10/17/2022 is rescheduled. The new hearing date and time are as follows: Sentencing is now set for 10/25/2022 at
                     9:30AM in Ft. Myers Courtroom 5D before Judge Sheri Polster Chappell. (AEH) (Entered: 10/11/2022)
  10/25/2022     125 Minute Entry for In Person proceedings held before Judge Sheri Polster Chappell: SENTENCING held on 10/25/2022 for Heriberto
                     Batista Montijo, Counts 1-2, 3, 600-MONTHS, such term consists of 360-months as to each of Counts 1 and 2, such terms shall run
                     concurrently, and a term of 240-months as to Count 3, the term imposed in Count 3 shall run consecutively to Counts 1 & 2. The terms
                     of imprisonment imposed by this judgment shall run concurrently with the defendant's anticipated term of imprisonment imposed
                     pursuant to the judgment in Docket Number 21-CF-15332, Lee County Circuit Court, Fort Myers, Florida; Supervised Release:
                     LIFETIME term of supervised release. This term consists of a Lifetime term as to each of Counts 1, 2, and 3, all such terms to run
                     concurrently; Sex Offender Conditions; Special Assessments: $300; Forfeiture included in judgment; Restitution Hearing set for
                     1/18/2023 @ 1:30pm; remand to the custody of United States Marshal. Court Reporter: Stacey Raikes (Interpreter/Language: Gabriella
                     Pedroza-Harding and Jesse Leonor - Spanish) (AEH) (Entered: 10/25/2022)
  10/25/2022     126 NOTICE OF RESTITUTION HEARING as to Heriberto Batista Montijo: a Restitution Hearing is set for 1/18/2023 at 1:30PM in Ft.
                     Myers Courtroom 5D before Judge Sheri Polster Chappell. (AEH) (Entered: 10/25/2022)
  10/27/2022     127 JUDGMENT as to Heriberto Batista Montijo, Counts 1-2 and Count 3, 600-MONTHS This term consists of a 360-months as to
                     each of Counts 1 and 2, such terms shall run concurrently, and a term of 240-months as to Count 3, the term imposed in Count 3
                     shall run consecutively to Counts 1 & 2. The terms of imprisonment imposed by this judgment shall run concurrently with the
                     defendant's anticipated term of imprisonment imposed pursuant to the judgment in Docket Number 21-CF-15332, Lee County
                     Circuit Court, Fort Myers, Florida; Supervised Release: LIFETIME term of supervised release. This term consists of a Lifetime
                     term as to each of Counts 1, 2, and 3, all such terms to run concurrently; Sex Offender Conditions; Special Assessments: $300;
                     Restitution Hearing set for 1/18/2023 @ 1:30pm; remand to the custody of United States Marshal. Signed by Judge Sheri Polster
                     Chappell on 10/26/2022. (AEH) (Entered: 10/27/2022)
  10/27/2022     129 NOTICE OF APPEAL by Heriberto Batista Montijo re 127 Judgment,. Filing fee not paid (Summers, George) (Entered: 10/27/2022)
  10/31/2022     130 TRANSMITTAL of initial appeal package as to Heriberto Batista Montijo to USCA consisting of copies of notice of appeal, docket
                     sheet, order/judgment being appealed, and motion, if applicable to USCA re 129 Notice of Appeal. Eleventh Circuit Transcript
                     information form forwarded to pro se litigants and available to counsel at www.flmd.uscourts.gov under Forms and
                     Publications/General. (SEH) (Entered: 10/31/2022)
  11/01/2022           USCA Case Number as to Heriberto Batista Montijo. USCA Number: 22-13666-A for 129 Notice of Appeal filed by Heriberto Batista
                       Montijo. (SEH) (Entered: 11/03/2022)
  11/02/2022     131 NOTICE OF ATTORNEY APPEARANCE: Melissa Fussell appearing for Heriberto Batista Montijo for Appellate Purposes Only
                     (Fussell, Melissa) (Entered: 11/02/2022)
  11/03/2022     132 TRANSCRIPT information form filed by Heriberto Batista Montijo for proceedings held on 09/08/2021 & 06/27/2022 before Judge
                     Mac R. McCoy & Nicholas P. Mizell re 129 Notice of Appeal. USCA number: 22-13666. (Fussell, Melissa) (Entered: 11/03/2022)
  11/03/2022     133 TRANSCRIPT information form filed by Heriberto Batista Montijo for proceedings held on 11/08/2021 & 04/11/2022 before Judge
                     Sheri Polster Chappell re 129 Notice of Appeal. USCA number: 22-13666. (Fussell, Melissa) (Entered: 11/03/2022)
  11/03/2022     134 TRANSCRIPT information form filed by Heriberto Batista Montijo for proceedings held on 09/13/2021; 12/07/2021; 01/10/2022;
                     02/14/2022; 03/14/2022; 05/09/2022; 06/06/2022 & 10/25/2022 before Judge Nicholas P. Mizell & Sheri Polster Chappell re 129 Notice
                     of Appeal. USCA number: 22-13666. (Fussell, Melissa) (Entered: 11/03/2022)
  11/17/2022     135 COURT REPORTER ACKNOWLEDGMENT by Stacey Raikes re 129 Notice of Appeal as to Heriberto Batista Montijo. Estimated
                     transcript filing date: December 17, 2022. USCA number: 22-13666. (SER) (Entered: 11/17/2022)
  11/22/2022     136 ORDER granting the United States' Motion for Final Order of Forfeiture as to Heriberto Batista Montijo (Doc. 123). Signed by
                     Judge Sheri Polster Chappell on 11/21/2022. (AEH) (Entered: 11/22/2022)
  11/23/2022     137 COURT REPORTER ACKNOWLEDGMENT by Jeffrey G. Thomas re 129 Notice of Appeal as to Heriberto Batista Montijo. Estimated
                     transcript filing date: 12/03/22. USCA number: 22-13666. (JGT) (Entered: 11/23/2022)
  11/23/2022     138 COURT REPORTER ACKNOWLEDGMENT by Jeffrey G. Thomas re 129 Notice of Appeal as to Heriberto Batista Montijo. Estimated
                     transcript filing date: 12/03/22. USCA number: 22-13666. (JGT) (Entered: 11/23/2022)
  12/02/2022     139 TRANSCRIPT of Initial Appearance, Digitally Recorded, as to Heriberto Batista Montijo held on 09/08/21 before Judge Mac R.
                     McCoy. Court Reporter/Transcriber Jeffrey G. Thomas, Telephone number (239) 461-2033. Transcript may be viewed at the court
                     public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                     date it may be obtained through PACER or purchased through the Court Reporter. Redaction Request due 12/23/2022 Redacted
                     Transcript Deadline set for 1/3/2023 Release of Transcript Restriction set for 3/2/2023. (JGT) (Entered: 12/02/2022)
  12/02/2022     140 TRANSCRIPT of Status Conference as to Heriberto Batista Montijo held on 11/08/21/ before Judge Sheri Polster Chappell. Court
                     Reporter/Transcriber Jeffrey G. Thomas, Telephone number (239) 461-2033. Transcript may be viewed at the court public terminal or
                     purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it may be



https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?976743063282481-L_1_0-1                                                                                          7/9
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                       obtained through PACER or purchased through the Court Reporter. Redaction Request due 12/23/2022 Redacted Transcript Deadline set
                       for 1/3/2023 Release of Transcript Restriction set for 3/2/2023. (JGT) (Entered: 12/02/2022)
  12/02/2022     141 TRANSCRIPT of Status Conference as to Heriberto Batista Montijo held on 04/11/22 before Judge Sheri Polster Chappell. Court
                     Reporter/Transcriber Jeffrey G. Thomas, Telephone number (239) 461-2033. Transcript may be viewed at the court public terminal or
                     purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it may be
                     obtained through PACER or purchased through the Court Reporter. Redaction Request due 12/23/2022 Redacted Transcript Deadline set
                     for 1/3/2023 Release of Transcript Restriction set for 3/2/2023. (JGT) (Entered: 12/02/2022)
  12/02/2022     142 TRANSCRIPT of Digitally Recorded Change of Plea as to Heriberto Batista Montijo held on 06/27/22 before Judge Nicholas P. Mizell.
                     Court Reporter/Transcriber Jeffrey G. Thomas, Telephone number (239) 461-2033. Transcript may be viewed at the court public
                     terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it
                     may be obtained through PACER or purchased through the Court Reporter. Redaction Request due 12/23/2022 Redacted Transcript
                     Deadline set for 1/3/2023 Release of Transcript Restriction set for 3/2/2023. (JGT) (Entered: 12/02/2022)
  12/02/2022     143 NOTIFICATION that transcript has been filed by Jeffrey G. Thomas re: 129 Notice of Appeal as to Heriberto Batista Montijo USCA
                     number: 22-13666 (JGT) (Entered: 12/02/2022)
  12/02/2022     144 NOTICE to counsel of filing of OFFICIAL TRANSCRIPT. The parties have seven (7) calendar days to file with the court a Notice of
                     Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript may be made remotely electronically available to
                     the public without redaction after 90 calendar days. Any party needing a copy of the transcript to review for redaction purposes may
                     purchase a copy from the court reporter or view the document at the clerk's office public terminal as to Heriberto Batista Montijo. Court
                     Reporter: Jeffrey G. Thomas (JGT) (Entered: 12/02/2022)
  12/14/2022     145 TRANSCRIPT of Telephonic Status Hearing for dates of September 13, 2021 held before Judge Nicholas P. Mizell, re: 129 Notice of
                     Appeal as to Heriberto Batista Montijo. Court Reporter/Transcriber Stacey Raikes, Telephone number 239-461-2064. Transcript may be
                     viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript
                     Restriction. After that date it may be obtained through PACER or purchased through the Court Reporter. Redaction Request due
                     1/4/2023 Redacted Transcript Deadline set for 1/17/2023 Release of Transcript Restriction set for 3/14/2023. (SER) (Entered:
                     12/14/2022)
  12/14/2022     146 TRANSCRIPT telephonic of Status Hearing for dates of January 10, 2022 held before Judge Sheri Polster Chappell, re: 129 Notice of
                     Appeal as to Heriberto Batista Montijo. Court Reporter/Transcriber Stacey Raikes, Telephone number 239-461-2064. Transcript may be
                     viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript
                     Restriction. After that date it may be obtained through PACER or purchased through the Court Reporter. Redaction Request due
                     1/4/2023 Redacted Transcript Deadline set for 1/17/2023 Release of Transcript Restriction set for 3/14/2023. (SER) (Entered:
                     12/14/2022)
  12/14/2022     147 TRANSCRIPT telephonic of Status Hearing for dates of February 14, 2022 held before Judge Sheri Polster Chappell, re: 129 Notice of
                     Appeal as to Heriberto Batista Montijo. Court Reporter/Transcriber Stacey Raikes, Telephone number 239-461-2064. Transcript may be
                     viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript
                     Restriction. After that date it may be obtained through PACER or purchased through the Court Reporter. Redaction Request due
                     1/4/2023 Redacted Transcript Deadline set for 1/17/2023 Release of Transcript Restriction set for 3/14/2023. (SER) (Entered:
                     12/14/2022)
  12/14/2022     148 TRANSCRIPT of telephonic Status Hearing for dates of March 14, 2022 held before Judge Sheri Polster Chappell, re: 129 Notice of
                     Appeal as to Heriberto Batista Montijo. Court Reporter/Transcriber Stacey Raikes, Telephone number 239-461-2064. Transcript may be
                     viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript
                     Restriction. After that date it may be obtained through PACER or purchased through the Court Reporter. Redaction Request due
                     1/4/2023 Redacted Transcript Deadline set for 1/17/2023 Release of Transcript Restriction set for 3/14/2023. (SER) (Entered:
                     12/14/2022)
  12/14/2022     149 TRANSCRIPT of telephonic Status Hearing for dates of May 9, 2022 held before Judge Sheri Polster Chappell, re: 129 Notice of
                     Appeal as to Heriberto Batista Montijo. Court Reporter/Transcriber Stacey Raikes, Telephone number 239-461-2064. Transcript may be
                     viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript
                     Restriction. After that date it may be obtained through PACER or purchased through the Court Reporter. Redaction Request due
                     1/4/2023 Redacted Transcript Deadline set for 1/17/2023 Release of Transcript Restriction set for 3/14/2023. (SER) (Entered:
                     12/14/2022)
  12/14/2022     150 TRANSCRIPT of telephonic Status Hearing for dates of June 6, 2022 held before Judge Sheri Polster Chappell, re: 129 Notice of
                     Appeal as to Heriberto Batista Montijo. Court Reporter/Transcriber Stacey Raikes, Telephone number 239-461-2064. Transcript may be
                     viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript
                     Restriction. After that date it may be obtained through PACER or purchased through the Court Reporter. Redaction Request due
                     1/4/2023 Redacted Transcript Deadline set for 1/17/2023 Release of Transcript Restriction set for 3/14/2023. (SER) (Entered:
                     12/14/2022)
  12/14/2022     151 TRANSCRIPT of Motion Hearing for dates of December 7, 2021 held before Judge Sheri Polster Chappell, re: 129 Notice of Appeal as
                     to Heriberto Batista Montijo. Court Reporter/Transcriber Stacey Raikes, Telephone number 239-461-2064. Transcript may be viewed at
                     the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                     After that date it may be obtained through PACER or purchased through the Court Reporter. Redaction Request due 1/4/2023 Redacted
                     Transcript Deadline set for 1/17/2023 Release of Transcript Restriction set for 3/14/2023. (SER) (Entered: 12/14/2022)
  12/14/2022     152 TRANSCRIPT of Sentencing Hearing for dates of October 25, 2022 held before Judge Sheri Polster Chappell, re: 129 Notice of Appeal
                     as to Heriberto Batista Montijo. Court Reporter/Transcriber Stacey Raikes, Telephone number 239-461-2064. Transcript may be viewed
                     at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript
                     Restriction. After that date it may be obtained through PACER or purchased through the Court Reporter. Redaction Request due
                     1/4/2023 Redacted Transcript Deadline set for 1/17/2023 Release of Transcript Restriction set for 3/14/2023. (SER) (Entered:
                     12/14/2022)
  12/14/2022     153 NOTIFICATION that transcript has been filed by Stacey Raikes re: 129 Notice of Appeal as to Heriberto Batista Montijo USCA
                     number: 22-13666 (SER) (Entered: 12/14/2022)

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                                                                                                          of Florida

  12/14/2022     154 NOTICE to counsel of filing of OFFICIAL TRANSCRIPT. The parties have seven (7) calendar days to file with the court a Notice of
                     Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript may be made remotely electronically available to
                     the public without redaction after 90 calendar days. Any party needing a copy of the transcript to review for redaction purposes may
                     purchase a copy from the court reporter or view the document at the clerk's office public terminal as to Heriberto Batista Montijo. Court
                     Reporter: Stacey Raikes (SER) (Entered: 12/14/2022)
  12/22/2022     155 NOTICE of Withdrawal of Request for Restitution by USA as to Heriberto Batista Montijo (Viacava, Yolande) (Entered: 12/22/2022)
  12/27/2022     156 NOTICE canceling 1/18/2023 Restitution Hearing as to Heriberto Batista Montijo. (See NOTICE of Withdrawal of Request for
                     Restitution by USA at Doc. 155). (AEH) (Entered: 12/27/2022)
  03/15/2023           Pursuant to F.R.A.P. 11(c), the Clerk of the District Court for the Middle District of Florida certifies that the record is complete for
                       purposes of this appeal re: 129 Notice of Appeal as to Heriberto Batista Montijo. All documents are imaged and available for the USCA
                       to retrieve electronically. USCA number: 22-13666-AA. (LMF) (Entered: 03/17/2023)



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                                                        U.S. District Court
                                                  DISTRICT OF KANSAS (Wichita)
                                     CRIMINAL DOCKET FOR CASE #: 6:21-cr-10016-EFM All Defendants


 Case title: USA v. Sporn                                                                         Date Filed: 03/23/2021

 Magistrate judge case number: 6:21-mj-06027-GEB                                                  Date Terminated: 02/13/2023


 Assigned to: Chief District Judge Eric F. Melgren

 Defendant (1)
 Randy Sporn                                                                        represented by Jennifer A. Amyx
 TERMINATED: 02/13/2023                                                                            Federal Public Defender - Topeka
                                                                                                   632 SW Van Buren Street, Suite 200
                                                                                                   Topeka, KS 66603
                                                                                                   785-232-9828
                                                                                                   Fax: 785-232-9886
                                                                                                   Email: Jennifer_Amyx@fd.org
                                                                                                   LEAD ATTORNEY
                                                                                                   ATTORNEY TO BE NOTICED
                                                                                                   Designation: Public Defender or Community Defender
                                                                                                   Appointment

                                                                                                  Lydia Krebs Albert
                                                                                                  Federal Public Defender - Topeka
                                                                                                  632 SW Van Buren Street, Suite 200
                                                                                                  Topeka, KS 66603
                                                                                                  785-232-9828
                                                                                                  Fax: 785-232-9886
                                                                                                  Email: lydia_krebs_albert@fd.org
                                                                                                  LEAD ATTORNEY
                                                                                                  ATTORNEY TO BE NOTICED
                                                                                                  Designation: Public Defender or Community Defender
                                                                                                  Appointment

                                                                                                  Mitch Erik Biebighauser
                                                                                                  Office of Federal Public Defender - Wichita
                                                                                                  850 Epic Center
                                                                                                  301 North Main Street
                                                                                                  Wichita, KS 67202
                                                                                                  316-269-6170
                                                                                                  Fax: 316-269-6175
                                                                                                  Email: mitch_biebighauser@fd.org
                                                                                                  LEAD ATTORNEY
                                                                                                  ATTORNEY TO BE NOTICED
                                                                                                  Designation: Public Defender or Community Defender
                                                                                                  Appointment

 Pending Counts                                                                                   Disposition
 18:2252A(a)(5)(B) Possession of child pornography                                                Defendant sentenced to 168 months in prison; lifetime of
 (INDICTMENT 3/23/2021)                                                                           supervised release; $100 special assessment fee; for count 3
 (3)                                                                                              $7000 AVAA assessment cost

 Highest Offense Level (Opening)
 Felony

 Terminated Counts                                                                                Disposition
 18:2251(a) Sexual exploitation of a child - production of child
 pornography (INDICTMENT 3/23/2021)                                                               Dismissed
 (1)
 18:2260A Commission of certain felonies while required to
 register as a sex offender (INDICTMENT 3/23/2021)                                                Dismissed
 (2)

 Highest Offense Level (Terminated)

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 Felony

 Complaints                                                                                        Disposition
 18:2251(a) Sexual Exploitation of a Child - Production of
 Child Pornography (COUNT 1); 18:2260A Commission of
 Certain Felonies While Required to Register as a Sex Offender
 (COUNT 2); 18:2252A(a)(5)(B) Possession of Child
 Pornography (COUNT 3) (COMPLAINT 03/12/2021)



 Plaintiff
 USA                                                                               represented by Aaron L. Smith
                                                                                                  Office of United States Attorney - Wichita
                                                                                                  301 N. Main Street, Suite 1200
                                                                                                  Wichita, KS 67202-4812
                                                                                                  316-269-6561
                                                                                                  Fax: 316-269-6484
                                                                                                  Email: aaron.smith3@usdoj.gov
                                                                                                  LEAD ATTORNEY
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                   Jason W. Hart
                                                                                                   Office of United States Attorney - Wichita
                                                                                                   301 N. Main Street, Suite 1200
                                                                                                   Wichita, KS 67202-4812
                                                                                                   316-269-6684
                                                                                                   Fax: 316-269-6484
                                                                                                   Email: jason.hart2@usdoj.gov
                                                                                                   LEAD ATTORNEY
                                                                                                   ATTORNEY TO BE NOTICED
                                                                                                   Designation: Retained

  Date Filed        #   Docket Text
  03/12/2021        1 COMPLAINT as to Randy Sporn (1). (jk) [6:21-mj-06027-GEB] (Entered: 03/12/2021)
  03/17/2021        2 ARREST WARRANT returned executed on 3/17/2021 as to Randy Sporn. (jk) [6:21-mj-06027-GEB] (Entered: 03/17/2021)
  03/17/2021            ARREST of Randy Sporn. (jk) [6:21-mj-06027-GEB] (Entered: 03/17/2021)
  03/17/2021        3 MINUTE ENTRY for proceedings held before Magistrate Judge Gwynne E. Birzer: RULE 5/INITIAL APPEARANCE as to Randy
                      Sporn held on 3/17/2021 by Zoom. Detention Hearing set for 3/19/2021 at 01:30 PM before Magistrate Judge Gwynne E. Birzer by
                      Zoom. Preliminary Hearing set for 3/31/2021 at 01:30 PM before Magistrate Judge Gwynne E. Birzer by Zoom. (Tape #1:33-1:43)
                      (mam) [6:21-mj-06027-GEB] (Entered: 03/17/2021)
  03/17/2021        4 CJA 23 FINANCIAL AFFIDAVIT by Randy Sporn. (mam) [6:21-mj-06027-GEB] (Entered: 03/17/2021)
  03/17/2021        5 ORDER OF TEMPORARY DETENTION as to Randy Sporn. Signed by Magistrate Judge Gwynne E. Birzer on 3/17/2021. (mam)
                      [6:21-mj-06027-GEB] (Entered: 03/17/2021)
  03/17/2021        6 CONSENT TO APPEAR BY VIDEO OR TELEPHONE CONFERENCE for initial appearance, detention hearing and preliminary
                      hearing as to Randy Sporn. (mam) [6:21-mj-06027-GEB] (Entered: 03/17/2021)
  03/17/2021        7 Certificate of Compliance with Administrative Order 2020-9, Authorizing Counsel to Sign the Financial Affidavit as to Randy Sporn.
                      (mam) [6:21-mj-06027-GEB] (Entered: 03/17/2021)
  03/17/2021        8 ENTRY OF APPEARANCE by attorney Mitch E. Biebighauser appearing for Randy Sporn. (Biebighauser, Mitch) [6:21-mj-06027-GEB]
                      (Entered: 03/17/2021)
  03/18/2021            NOTICE TO COUNSEL as to Randy Sporn - Pursuant to the Due Process Protections Act, the government is reminded of its obligations
                        pursuant to Brady v. Maryland and its progeny to disclose material that is favorable to the defendant and material to defendants guilt or
                        punishment. The failure to do so in a timely manner may include dismissal of the indictment or information, dismissal of individual
                        charges, exclusion of government evidence or witnesses, or any other remedy that is just under the circumstances. (ala) [6:21-mj-06027-
                        GEB] (Entered: 03/18/2021)
  03/19/2021        9 MINUTE ENTRY for proceedings held before Magistrate Judge Gwynne E. Birzer: DETENTION HEARING as to Randy Sporn held on
                      3/19/2021 by Zoom. The Government's motion for detention is granted. Preliminary Hearing set for 3/31/2021 at 01:30 PM before
                      Magistrate Judge Gwynne E. Birzer by Zoom. (Tape #1:40-2:28) (mam) [6:21-mj-06027-GEB] (Entered: 03/19/2021)
  03/23/2021     10 INDICTMENT as to Randy Sporn (1) - counts 1-3. (mam) (Entered: 03/23/2021)
  03/30/2021     11 ORDER OF DETENTION PENDING TRIAL as to Randy Sporn. Signed by Magistrate Judge Gwynne E. Birzer on 3/30/2021. (mam)
                    (Entered: 03/30/2021)
  03/31/2021     12 MINUTE ENTRY for proceedings held before Magistrate Judge Gwynne E. Birzer: ARRAIGNMENT as to Randy Sporn (1) held on
                    3/31/2021 by Zoom. Defendant's next appearance is before Judge Melgren per the Scheduling Order. (Tape #1:34-1:37) (mam) (Entered:
                    03/31/2021)
  03/31/2021     13 CONSENT TO APPEAR BY VIDEO OR TELEPHONE CONFERENCE for arraignment as to Randy Sporn. (mam) (Entered:

https://ecf.ksd.uscourts.gov/cgi-bin/DktRpt.pl?793309301243102-L_1_0-1                                                                                              2/6
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                     03/31/2021)
  04/02/2021     14 PRETRIAL AND CRIMINAL CASE MANAGEMENT ORDER ENTERED: as to Randy Sporn. Status Conference set for 5/10/2021 at
                    04:00 PM in Wichita Room 414 (EFM) before District Judge Eric F. Melgren. Jury Trial set for 5/25/2021 at 09:00 AM in Wichita
                    Courtroom 408 (EFM) before District Judge Eric F. Melgren. Signed by District Judge Eric F. Melgren on 4/2/2021. (cm) (Entered:
                    04/02/2021)
  05/07/2021     15 MOTION to Continue Pretrial Motions Deadline, Status Conference, and Jury Trial by Randy Sporn. (Biebighauser, Mitch) (Entered:
                    05/07/2021)
  05/10/2021     16 ORDER granting 15 Motion for Continuance. Speedy trial tim excluded from 5/25/2021 until 8/17/2021 as to Randy Sporn (1). Motions
                    due by 7/6/2021. Status Conference is reset for 8/2/2021 at 09:00 AM in Wichita Room 414 (EFM) before District Judge Eric F. Melgren.
                    Jury Trial is reset for 8/17/2021 at 09:00 AM in Wichita Courtroom 408 (EFM) before District Judge Eric F. Melgren. Signed by District
                    Judge Eric F. Melgren on 5/10/2021. (mam) (Entered: 05/10/2021)
  07/06/2021     17 MOTION to Continue Pretrial Motions Deadline, Status Conference, and Jury Trial by Randy Sporn. (Biebighauser, Mitch) (Entered:
                    07/06/2021)
  07/06/2021     18 ORDER granting 17 Motion for Continuance. Speedy trial time excluded from 8/17/2021 until 10/26/2021 as to Randy Sporn (1).
                    Motions due by 9/7/2021. Status Conference is reset for 10/13/2021 at 09:30 AM in Wichita Room 414 (EFM) before District Judge Eric
                    F. Melgren. Jury Trial is reset for 10/26/2021 at 09:00 AM in Wichita Courtroom 408 (EFM) before District Judge Eric F. Melgren.
                    Signed by District Judge Eric F. Melgren on 7/6/2021. (mam) (Entered: 07/06/2021)
  09/07/2021     19 MOTION to Continue Pretrial Motions Deadline, Status Conference, and Jury Trial by Randy Sporn. (Biebighauser, Mitch) (Entered:
                    09/07/2021)
  09/08/2021     20 ORDER granting 19 Motion for Continuance. Speedy trial time excluded from 10/26/2021 until 11/23/2021 as to Randy Sporn (1).
                    Motions due by 9/27/2021. Status Conference is reset for 11/8/2021 at 09:30 AM in Wichita Room 414 (EFM) before District Judge Eric
                    F. Melgren. Jury Trial is reset for 11/23/2021 at 09:00 AM in Wichita Courtroom 408 (EFM) before District Judge Eric F. Melgren.
                    Signed by District Judge Eric F. Melgren on 9/8/2021. (mam) (Entered: 09/08/2021)
  09/27/2021     21 MOTION to Continue Pretrial Motions Deadline, Status Conference, and Jury Trial by Randy Sporn. (Biebighauser, Mitch) (Entered:
                    09/27/2021)
  10/01/2021     22 ORDER granting 21 Motion for Continuance. Speedy trial time excluded from 11/23/2021 until 11/30/2021 as to Randy Sporn (1).
                    Motions due by 10/27/2021. Status Conference is reset for 11/15/2021 at 10:15 AM in Wichita Room 414 (EFM) before District Judge
                    Eric F. Melgren. Jury Trial is reset for 11/30/2021 at 09:00 AM in Wichita Courtroom 408 (EFM) before District Judge Eric F. Melgren.
                    Signed by District Judge Eric F. Melgren on 10/1/2021. (mam) (Entered: 10/01/2021)
  10/22/2021     23 NOTICE of Designation of Witness by USA as to Randy Sporn (Hart, Jason) (Entered: 10/22/2021)
  10/27/2021     24 MOTION to Suppress by Randy Sporn. (Attachments: # 1 Exhibit 1A, # 2 Exhibit 1B, # 3 Exhibit 1C, # 4 Exhibit 2A, # 5 Exhibit 2B, # 6
                    Exhibit 2C, # 7 Exhibit 3A, # 8 Exhibit 3B, # 9 Exhibit 3C, # 10 Exhibit 4A, # 11 Exhibit 4B, # 12 Exhibit 4C, # 13 Exhibit 5A, # 14
                    Exhibit 5B, # 15 Exhibit 5C)(Biebighauser, Mitch) (Entered: 10/27/2021)
  11/09/2021     25 MOTION for Extension of Time to File Response as to 24 MOTION to Suppress by USA as to Randy Sporn. (Hart, Jason) (Entered:
                    11/09/2021)
  11/09/2021     26 NOTICE OF CANCELLED HEARING: STATUS CONFERENCE scheduled for 11/15/2021 and JURY TRIAL scheduled for
                    11/30/2021 as to Defendant Randy Sporn cancelled to be rescheduled upon ruling on outstanding motion. (This is a TEXT ENTRY
                    ONLY. There is no.pdf document associated with this entry.) (cm) (Entered: 11/09/2021)
  11/09/2021     27 ORDER granting 25 Motion for Extension of Time to File a Response as to Randy Sporn (1). United States' response date to 24
                    Defendant's Motion to Suppress is extended to 11/24/2021. Signed by District Judge Eric F. Melgren on 11/9/2021. (mam) (Entered:
                    11/09/2021)
  11/24/2021     28 RESPONSE TO MOTION by USA as to Randy Sporn re 24 MOTION to Suppress (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Hart,
                    Jason) (Entered: 11/24/2021)
  12/08/2021     29 MOTION for Extension of Time to File a Reply as to 24 Motion to Suppress by Randy Sporn. (Biebighauser, Mitch) Modified on
                    12/8/2021 to re-link. (mam) (Entered: 12/08/2021)
  12/08/2021     30 ORDER granting 29 Motion for Extension of Time to File a Reply to 24 Motion to Suppress as to Randy Sporn (1). Reply deadline
                    12/22/2021. Signed by Chief District Judge Eric F. Melgren on 12/8/2021. (mam) (Entered: 12/08/2021)
  12/22/2021     31 REPLY TO RESPONSE TO MOTION by Randy Sporn re 24 MOTION to Suppress (Biebighauser, Mitch) (Entered: 12/22/2021)
  01/07/2022     32 NOTICE OF HEARING ON MOTION as to Randy Sporn. THIS IS AN OFFICIAL NOTICE FOR THIS HEARING re 24 Motion to
                    Suppress: (This is a TEXT ENTRY ONLY. There is no.pdf document associated with this entry.) Motion Hearing set for 2/14/2022 at
                    01:00 PM in Wichita Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren. (cm) (Entered: 01/07/2022)
  02/11/2022     33 NOTICE OF COURTROOM CHANGE. Hearing re 32 Notice of Hearing on Motion, will be held in Courtroom 161 as to Defendant
                    Randy Sporn (This is a TEXT ENTRY ONLY. There is no.pdf document associated with this entry.) (cm) (Entered: 02/11/2022)
  02/14/2022     34 MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren: MOTION HEARING as to Randy Sporn held on
                    2/14/2022 re 24 MOTION to Suppress filed by Randy Sporn. (Court Reporter Jo Wilkinson) (This is a TEXT ENTRY ONLY. There is
                    no.pdf document associated with this entry.) (cm) (Entered: 02/14/2022)
  02/15/2022     35 MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren: MOTION HEARING continued as to Randy Sporn
                    held on 2/15/2022. (Court Reporter Jo Wilkinson) (Attachments: # 1 Witness Sheet, # 2 Exhibit List) (cm) (Entered: 02/15/2022)
  03/04/2022     36 MEMORANDUM AND ORDER denying 24 Defendant's Motion to Suppress as to Randy Sporn (1). Signed by Chief District Judge Eric
                    F. Melgren on 3/4/2022. (mam) (Entered: 03/04/2022)
  03/04/2022     37 NOTICE OF HEARING as to Defendant Randy Sporn THIS IS AN OFFICIAL NOTICE FOR THIS HEARING (This is a TEXT
                    ENTRY ONLY. There is no.pdf document associated with this entry.) Status Conference set for 3/10/2022 at 08:15 AM in Wichita Room
https://ecf.ksd.uscourts.gov/cgi-bin/DktRpt.pl?793309301243102-L_1_0-1                                                                                      3/6
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                     414 (EFM) before Chief District Judge Eric F. Melgren. Jury Trial set for 3/15/2022 at 09:00 AM in Wichita Courtroom 408 (EFM)
                     before Chief District Judge Eric F. Melgren.(cm) (Entered: 03/04/2022)
  03/09/2022     38 MOTION to Continue Status Conference and Jury Trial by Randy Sporn. (Biebighauser, Mitch) (Entered: 03/09/2022)
  03/09/2022     39 ORDER granting 38 Motion for Continuance. Speedy trial time excluded from 3/15/2022 until 6/14/2022 as to Randy Sporn (1). Status
                    Conference is reset for 6/1/2022 at 02:00 PM in Wichita Room 414 (EFM) before Chief District Judge Eric F. Melgren. Jury Trial is reset
                    for 6/14/2022 at 09:00 AM in Wichita Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren. Signed by Chief District Judge
                    Eric F. Melgren on 3/9/2022. (mam) (Entered: 03/09/2022)
  05/31/2022     40 MOTION in Limine by USA as to Randy Sporn. (Hart, Jason) (Entered: 05/31/2022)
  06/01/2022     41 MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren: STATUS CONFERENCE as to Randy Sporn held on
                    6/1/2022. (This is a TEXT ENTRY ONLY. There is no.pdf document associated with this entry.) (cm) (Entered: 06/01/2022)
  06/03/2022     42 MOTION for leave to File Motion to Suppress Out of Time by Randy Sporn. (Biebighauser, Mitch) (Entered: 06/03/2022)
  06/03/2022     43 ORDER granting 42 Motion for Leave Motion to Suppress Out of Time as to Randy Sporn (1). Motion to be filed no later than
                    6/10/2022. Signed by Chief District Judge Eric F. Melgren on 6/3/2022. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.) (cm) (Entered: 06/03/2022)
  06/10/2022     44 MOTION to Suppress Custodial Statements by Randy Sporn. (Biebighauser, Mitch) (Entered: 06/10/2022)
  06/13/2022     45 NOTICE OF HEARING ON MOTION as to Randy Sporn. THIS IS AN OFFICIAL NOTICE FOR THIS HEARING 44 MOTION to
                    Suppress Custodial Statements : (This is a TEXT ENTRY ONLY. There is no.pdf document associated with this entry.) At the direction of
                    Judge Eric F. Melgren, the Motion Hearing is set for 6/24/2022 at 01:30 PM in Wichita Courtroom 408 (EFM) before Chief District
                    Judge Eric F. Melgren. (cm) (Entered: 06/13/2022)
  06/13/2022     46 NOTICE OF CANCELLED HEARING: JURY TRIAL scheduled for 6/14/2022 as to Defendant Randy Sporn cancelled to be
                    rescheduled upon ruling on motion to suppress. (This is a TEXT ENTRY ONLY. There is no.pdf document associated with this entry.)
                    (cm) (Entered: 06/13/2022)
  06/14/2022     47 RESPONSE TO MOTION by Randy Sporn re 40 MOTION in Limine (Biebighauser, Mitch) (Entered: 06/14/2022)
  06/21/2022     48 ENTRY OF APPEARANCE: by attorney Lydia Krebs appearing for Randy Sporn (Krebs, Lydia) (Entered: 06/21/2022)
  06/23/2022     49 RESPONSE TO MOTION by USA as to Randy Sporn re 44 MOTION to Suppress Custodial Statements (Hart, Jason) (Entered:
                    06/23/2022)
  06/24/2022     50 MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren: MOTION HEARING as to Randy Sporn held on
                    6/24/2022 re 44 Motion to Suppress Custodial Statements. After hearing arguments and testimony from the witness, the Court stated a
                    written order will be issued. The Court then discussed trial dates with the parties. The Court granted the oral motion to continue the jury
                    trial to 8/29/2022 at 09:00 AM in Wichita Courtroom 408 (EFM). For reasons as stated on the record, the Court finds additional time is
                    necessary for counsel's effective preparation and due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv). The Court further finds that the period
                    of delay resulting from this continuance shall be excluded in computing time under SpeedyTrial Act. Specifically the time from 6/24/2022
                    to the new trial setting of 8/29/2022 is excludable time. (Court Reporter Jo Wilkinson) (Attachments: # 1 Witness List) (mam) (Entered:
                    06/24/2022)
  07/06/2022     51 MEMORANDUM AND ORDER granting 44 Motion to Suppress Custodial Statements as to Randy Sporn (1). Signed by Chief District
                    Judge Eric F. Melgren on 7/5/2022. (mam) (Entered: 07/06/2022)
  08/02/2022     52 TRIAL ORDER as to Randy Sporn. Estimated trial time 4 days; Jury Instructions/In Limine Conference set for 8/25/2022 at 01:30 PM in
                    Wichita Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren. See Order for additional trial filing deadlines. Signed by
                    Chief District Judge Eric F. Melgren on 8/2/2022. (cm) (Entered: 08/02/2022)
  08/16/2022     55 Unopposed MOTION for Early Disclosure of Juror Panel Information by Randy Sporn. (Biebighauser, Mitch) (Entered: 08/16/2022)
  08/16/2022     56 Unopposed MOTION to Continue Jury Trial and Pretrial Deadlines by USA as to Randy Sporn. (Hart, Jason) (Entered: 08/16/2022)
  08/17/2022     57 ORDER granting 56 Unopposed Motion to Continue Jury Trial Speedy trial time excluded from 8/29/2022 until 11/29/2022 as to Randy
                    Sporn (1). Jury Trial is reset for 11/29/2022 at 09:00 AM in Wichita Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren.
                    Signed by Chief District Judge Eric F. Melgren on 8/17/2022. (mam) (Entered: 08/17/2022)
  08/17/2022     58 NOTICE OF CANCELLED HEARING: Pretrial/Limine/Jury Instructions conference set for 8/25/2022 as to Defendant Randy Sporn
                    cancelled. All additional deadlines set out in the Trial Scheduling Order, DE 52, have been vacated and will be reset at a later date. (This
                    is a TEXT ENTRY ONLY. There is no.pdf document associated with this entry.) (cm) (Entered: 08/17/2022)
  10/17/2022     59 ENTRY OF APPEARANCE by attorney Jennifer A. Amyx appearing for Randy Sporn. (Amyx, Jennifer) (Entered: 10/17/2022)
  10/17/2022     60 MOTION for leave to File Motion to Suppress Out of Time by Randy Sporn. (Attachments: # 1 Exhibit A - Defendant's Second Motion
                    to Suppress)(Amyx, Jennifer) (Entered: 10/17/2022)
  10/19/2022     61 MEMORANDUM AND ORDER denying 60 MOTION for leave to File Motion to Suppress Out of Time as to Randy Sporn (1). Signed
                    by Chief District Judge Eric F. Melgren on 10/19/2022. (kas) (Entered: 10/19/2022)
  10/28/2022     62 (DISREGARD) -- TRIAL ORDER as to Randy Sporn. Estimated trial time 4 days. In Limine/Pretrial/Jury Instructions Conference set for
                    11/23/2022 at 09:00 AM in Wichita Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren. Signed by Chief District Judge
                    Eric F. Melgren on 10/28/2022. (cm) Modified on 10/28/2022 per EFM chambers. (mam) (Entered: 10/28/2022)
  10/28/2022     63 TRIAL ORDER as to Randy Sporn. Estimated trial time 4 days; In Limine/Pretrial/Jury Instructions Conference set for 11/23/2022 at
                    09:00 AM in Wichita Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren. Signed by Chief District Judge Eric F. Melgren
                    on 10/28/2022. (cm) (Entered: 10/28/2022)
  11/09/2022     64 ORDER granting 55 Motion to Disclose jury panel information as to Randy Sporn (1). Information will be available on or about
                    11/22/2022. Signed by Chief District Judge Eric F. Melgren on 11/9/2022. (This is a TEXT ENTRY ONLY. There is no.pdf document
                    associated with this entry.) (cm) (Entered: 11/09/2022)

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  11/10/2022     65 NOTICE OF INTENT TO CHANGE PLEA and NOTICE OF HEARING. The defendant Randy Sporn has notified the court as of this
                    date that he intends to change his plea. The time from this notice until the change of plea hearing (including any continuances) is
                    excludable time for speedy trial purposes. (This is a TEXT ENTRY ONLY. There is no.pdf document associated with this entry.) Change
                    of Plea Hearing set for 11/21/2022 at 09:00 AM in Wichita Courtroom 408 (EFM) before Chief District Judge Eric F. Melgren. (cm)
                    (Entered: 11/14/2022)
  11/21/2022     66 MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren: CHANGE OF PLEA HEARING as to Randy Sporn
                    held on 11/21/2022. SENTENCING set for 2/13/2023 at 10:00 AM in Wichita Courtroom 408 (EFM) before Chief District Judge Eric F.
                    Melgren. (Court Reporter Jo Wilkinson) (This is a TEXT ENTRY ONLY. There is no.pdf document associated with this entry.) (cm)
                    (Entered: 11/21/2022)
  11/21/2022     67 NOTICE OF CANCELLED HEARING: IN LIMINE/JURY INSTRUCTIONS conference scheduled for 11/23/2022 and JURY TRIAL
                    scheduled for 11/29/2022 as to Defendant Randy Sporn cancelled. (This is a TEXT ENTRY ONLY. There is no.pdf document associated
                    with this entry.) (cm) (Entered: 11/21/2022)
  11/21/2022     68 PETITION TO ENTER PLEA OF GUILTY AND ORDER ENTERING PLEA as to Randy Sporn (1) Count 3. Signed by Chief District
                    Judge Eric F. Melgren on 11/21/2022. (kas) (Entered: 11/21/2022)
  11/21/2022     69 PLEA AGREEMENT as to Randy Sporn re 68 Petition and Order to Enter Plea of Guilty. (kas) (Entered: 11/21/2022)
  12/28/2022     70 MOTION for Preliminary Order of Forfeiture of Property by USA as to Randy Sporn. (Smith, Aaron) (Entered: 12/28/2022)
  01/03/2023     71 PRELIMINARY ORDER OF FORFEITURE granting 70 Motion for Preliminary Order of Forfeiture of Property as to Randy Sporn (1).
                    Signed by Chief District Judge Eric F. Melgren on 1/3/2023. (ca) (Entered: 01/03/2023)
  02/07/2023     72 PRESENTENCE INVESTIGATION REPORT as to Randy Sporn.

                     (NOTE: Access to this document is restricted to the USA and this defendant.)

                     (USPO) (Entered: 02/07/2023)
  02/13/2023     73 MINUTE ENTRY for proceedings held before Chief District Judge Eric F. Melgren: SENTENCING HEARING held on 2/13/2023 as to
                    defendant Randy Sporn. (Court Reporter Jo Wilkinson) (This is a TEXT ENTRY ONLY. There is no.pdf document associated with this
                    entry.) (cm) (Entered: 02/13/2023)
  02/13/2023     74 JUDGMENT as to Randy Sporn (1) - Count 3: Defendant sentenced to 168 months in prison; lifetime of supervised release; $100 special
                    assessment fee; for count 3 $7000 AVAA assessment cost. Counts 1, 2 dismissed on motion of the United States. Signed by Chief District
                    Judge Eric F. Melgren on 2/13/2023. (ca) (Entered: 02/13/2023)
  02/13/2023     75 STATEMENT OF REASONS as to Randy Sporn re 74 Judgment.

                     (NOTE: Access to this document is restricted to the USA and this defendant.)

                     (ca) (Entered: 02/13/2023)
  03/28/2023     76 SERVICE BY PUBLICATION filed by USA as to Randy Sporn. Last publication date February 3, 2023. (Attachments: # 1 Attachment 1)
                    (Smith, Aaron) (Entered: 03/28/2023)
  03/28/2023     77 CERTIFICATE OF SERVICE by USA as to Randy Sporn (Smith, Aaron) (Entered: 03/28/2023)
  03/28/2023     78 CERTIFICATE OF SERVICE by USA as to Randy Sporn (Smith, Aaron) (Entered: 03/28/2023)
  07/17/2023     79 JUDGMENT RETURNED EXECUTED as to Randy Sporn on 7/06/2023. (jk) (Entered: 07/17/2023)
  09/01/2023     80 TRANSCRIPT of Motion Hearing Volume I held February 14, 2022, as to Randy Sporn before Judge Eric F. Melgren, Court Reporter Jo
                    Wilkinson, redwoof58@yahoo.com. Transcript purchased by: Norton Law Firm, Oakland, CA. Volume: I.

                     NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this filing, each party shall inform the Court, by
                     filing a Notice of Intent to Redact, of the party's intent to redact personal data identifiers from the electronic transcript of the
                     court proceeding. The policy is located on our website at www.ksd.uscourts.gov. Please read this policy carefully. If no Notice of
                     Intent to Redact is filed within the allotted time, this transcript will be made electronically available on the date set forth below.

                     Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for
                     Release of Transcript Restriction. After that date it may be obtained through PACER. Release of Transcript Restriction set for 11/30/2023.
                     (Wilkinson, Johanna) (Entered: 09/01/2023)
  09/01/2023     81 TRANSCRIPT of Motion Hearing Volume II held February 15, 2022, as to Randy Sporn before Judge Eric F. Melgren, Court Reporter Jo
                    Wilkinson, redwoof58@yahoo.com. Transcript purchased by: Norton Law Firm, Oakland, CA. Volume: II.

                     NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 calendar days of this filing, each party shall inform the Court, by
                     filing a Notice of Intent to Redact, of the party's intent to redact personal data identifiers from the electronic transcript of the
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                     (Wilkinson, Johanna) (Entered: 09/01/2023)



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